          EXHIBIT A
          (Proposed Order)




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 6                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF WASHINGTON
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 8   In re:                                        Case No. 18-03197 FPC 7

 9   GIGA WATT, Inc., a Washington                 The Honorable Frederick P. Corbit
     corporation,
10                  Debtor.                        Chapter 7

11                                                 [PROPOSED] ORDER (I)
                                                   ESTABLISHING CASE NOTICE
12                                                 PROCEDURES AND (II)
                                                   APPROVING LIMITED NOTICE
13                                                 REGARDING SPECIFIC
                                                   MOTIONS
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15            This matter came before the Court on the Chapter 7 Trustee’s Motion TO
16   Limit Notice of First Interim Chapter 7 Fee Application of the Potomac Law
17   Group PLLC (October 1, 2020 – January 29, 2021) (the “Motion”), filed on
18   March 8, 2021. Unless otherwise defined herein, capitalized terms have the
19   meanings ascribed to them in the Motion.
20            Having reviewed any objections, read the Motion and related documents,
21   and listened to any oral argument, the Court finds that the form of and manner of
22   service of the Notice, as proposed in the Motion, is proper and sufficient. The
23   [Proposed] Order Approving
     Limited Notice of PLG First                                    Exh. A, 1 of 2
24   Interim Fee Application - P a g e | 1
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 1   Court further finds that the Limited Mailing List is calculated to reach all those
 2   who would have a good faith objection to the PLG First Interim Fee Application.
 3   All findings of fact and conclusions of law made at a hearing are incorporated
 4   herein by reference as if set forth fully herein, pursuant to Fed.R.Bank.P. 7052,
 5   applicable hereto pursuant to Fed.R.Bank.P. 9014.
 6         WHEREFORE, the Court Orders as follows:
 7         1.     The Motion is granted in its entirety;
 8         2.     The Trustee is authorized to limit notice of the Limited Notice
 9   Matters to those entities included on the Limited Notice Service List;
10         3.     The form and manner of service of the PLG First Interim Fee
11   Application is sufficient and proper.
12                                 /// END OF ORDER ///
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23   [Proposed] Order Approving                                     Exh. A, 2 of 2
     Limited Notice of PLG First
24   Interim Fee Application - P a g e | 2
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